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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

XPO LOGISTICS, INC., a Delaware
corporation, and XPO LAST MILE, INC.,
a Georgia corporation

             Plaintiffs,                          Case No. ___________________

-vs-                                              Hon. _______________________

WILLIAM YOUNG, an individual,

             Defendant.

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            COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

       Plaintiffs XPO Logistics, Inc. (“XPO”) and XPO-LM, Inc. (“XPO-LM”), for

their Complaint for Injunctive and Other Relief against Defendant William Young

(“Young”), state the following:

                            NATURE OF ACTION

       1.    This action is based on Young’s willful and intentional breach of his

non-competition provision in his employment agreement with Plaintiffs; his
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tortious   interference   with   Plaintiffs’     existing   contractual      and   business

relationships; his defamatory statements regarding Plaintiffs’ business operations;

and his breach of his fiduciary duties owed to Plaintiffs.

                                     PARTIES

      2.     XPO is a corporation organized under the laws of Delaware with its

principal place of business located at 5 Greenwich Office Park, Greenwich,

Connecticut 06831.

      3.     XPO-LM is a corporation organized under the laws of Georgia with

its principal place of business located at 1851 West Oak Parkway, Marietta,

Georgia 30062. XPO-LM is a wholly-owned subsidiary of XPO.

      4.     Young is an individual and former employee of XPO who resides at

36511 Rolf St., Westland, MI 48186.

                          JURISDICTION AND VENUE

      5.     The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1332

because there is diversity of citizenship and the amount in controversy is over

$75,000 exclusive of interest and costs.

      6.     Plaintiffs seek immediate injunctive relief pursuant to Federal Rule of

Civil Procedure 65(a).

      7.     Venue properly lies in this Court pursuant to 28 U.S.C. § 1391(a)

because a substantial part of the events or omissions giving rise to this action


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occurred within the Eastern District of Michigan, and Young is subject to personal

jurisdiction in this District.

                                      FACTS

A.     Plaintiffs’ Business

       8.     XPO-LM is a third-party logistics company that operates as an

authorized freight forwarder for its customers, such as retailers and distributors of

furniture, appliances, home exercise equipment, large electronics, and other heavy

goods. In this capacity, XPO-LM enters into delivery service agreements (“DSAs”)

with independent motor carriers (“Contract Carriers” or “Owner-Operators”),

which, in turn, provide last mile delivery services. A “last mile delivery” involves

moving goods from a transportation hub to a final destination, such as a

consumer’s home.

       9.     As a freight forwarder, XPO-LM does not sell the products that its

customers sell, and XPO-LM does not deliver those products because it does not

have the necessary licensing authority to deliver freight. Instead, XPO-LM

receives the product from a retailer and then provides the product to a Contract

Carrier for delivery to the end consumer.

       10.    Indeed, XPO-LM’s customers operate upstream from XPO-LM in the

supply chain, while Contract Carriers—as motor carriers authorized to deliver

freight—occupy another level of the supply chain that is downstream from both the


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retailer and XPO-LM.

      11.    For the supply chain to properly function (i.e., in order for freight to

move from a retailer to XPO-LM to a contract/motor carrier to the consumer),

XPO-LM must maintain its business relationship with both retailers (so that it has

freight to forward) and Contract Carriers (so that the freight is delivered).

      12.    XPO-LM’s business relationships with retailers and Contract Carriers

are crucial to the success of its business operations. Absent these business

relationships and related contractual agreements, XPO-LM’s business does not

function.

B.    XPO-LM’s Facility in Romulus, Michigan

      13.    To move goods from retailers to the consumer, XPO-LM has facilities

in different geographical areas. These facilities are known as market delivery

centers (“MDCs”). MDCs are of crucial importance to XPO-LM’s business

operations. Among other functions, MDCs store the products of XPO-LM’s

customers (i.e., the retailers and distributors).

      14.    Pursuant to the DSAs and business relationships between XPO-LM

and Contract Carriers, Contact Carriers deliver XPO-LM’s customers’ products

from the MDCs to end consumers of the products.

      15.    XPO-LM maintains and operates an MDC in Romulus, Michigan.

This facility is referred to as MDC-DTW.


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      16.    A significant portion of the revenue that XPO-LM derives from its

business operations at MDC-DTW originates from a large multinational retailer of

consumer goods that has a significant and continuous presence in the Midwest

region of the United States. XPO-LM generates large amounts of revenue by

serving as a freight forwarder of this large multinational retailer’s products.

C.    Young’s Employment with XPO

      17.    XPO hired Young as an Operations Manager II at MDC-DTW on

March 13, 2015.

      18.    XPO was the employer of record for the employees, including Young,

while the business with the client retailers, client distributors, and Contract Carriers

operated through XPO-LM.

      19.    As an Operations Manager at MDC-DTW, Young’s responsibilities

included but were not limited to: building relationships with Plaintiffs’ customers;

working with Plaintiffs’ staff on pricing, competitive advantages, and

disadvantages to facilitate new avenues of growth and protect Plaintiffs’ business

interests; facilitating the execution of DSAs with Contract Carriers; identifying

Contract Carriers qualified to provide last mile delivery services; and supervising

and managing subordinate supervisors who, in turn, supervise warehouse

associates and dispatchers.

      20.    Young also had primary responsibility for interfacing with two


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customers, in addition to overseeing the dispatching out of MDC-DTW for all

customers.

      21.    One of Plaintiff’s customers over which Young had primary

responsibility was the large multinational retailer described above. This retailer is

XPO-LM’s largest volume and revenue-generating retailer for MDC-DTW.

      22.    Among other things, Young was responsible for ensuring that

Plaintiffs maintained a positive, ongoing business relationship with this large

multinational retailer. Because this entity provides a signification portion of

Plaintiffs’ revenue, Young’s responsibility of interfacing with this customer was of

crucial importance to Plaintiffs’ business operations.

      23.    Plaintiffs provided Young with confidential and proprietary

information, so that he could perform his job duties as Operations Manager.

      24.     The confidential/proprietary information included, but is not limited

to: price lists; non-public financial information; customer and Contract Carrier lists

and/or identities; compensation arrangements; personnel information; mark-up

information for the Contract Carriers; profit and loss information; and customer

volume and revenue information. Young also knew, among other things, the

specific requirements of the Contract Carriers, including the minimum number of

routes and rates that each of the businesses require as a condition of their

contractual relationships with Plaintiffs.


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D.    Young’s Employment Agreement

      25.    On March 13, 2015, Young executed an “Employment Agreement”

with XPO, a copy of which is attached hereto as Exhibit A.

      26.    The Employment Agreement expressly provides that it is executed for

the benefit of XPO and its subsidiaries and affiliates (i.e., XPO-LM).

      27.    The Employment Agreement also contained non-compete and non-

solicit provisions.

      28.    The non-competition provision, provided, in pertinent part:

      Covenant Not to Compete With Us.

      (a) Duration and Geographic Scope. While you are employed by
      us and for a period of six (6) months after your employment ends,
      whether on account of your resignation or because we terminated your
      employment with or without Cause, (the “Restricted Period”), you are
      not allowed to compete with us in the “Restricted Territory”
      (geographic area) fixed below. This undertaking on your part for our
      benefit is called your “Non-Compete Covenant.”

      (b) Your Non-Compete Covenant to Us. Subject to the Restricted
      Period extension and Non-Compete waiver provisions described
      below, you expressly agree that both while employed by us and during
      the Restricted Period, you will not (either directly or indirectly
      through others) have any of the following business relationships
      anywhere within your Restricted Territory:

             (i)   Perform any services, whether as an employee, agent or
      independent contractor, which are the same as or reasonably related to
      the services you performed while employed by us during the last two
      years of your employment with us, for a “Competing Business”
      (defined below);

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      (c) Definition of a “Competing Business”. You and the Company
      agree that a “Competing Business” means any individual or business
      (e.g., a corporation or limited liability company) engaged in our
      business as we are conducting it on the date your employment with us
      ends (including any business we are then actively considering or were
      considering at any time during the 12 month period ending on the date
      of your termination), including by way of example:

             (i)   any providers of third-party logistics services, including
      only by way of illustration, freight brokerage, freight forwarding,
      expediting, internet load boards, last-mile delivery logistics, contract
      logistics or intermodal providers, or firms such as CH Robinson,
      Coyote Logistics, Expeditors International of Washington, Inc., Echo
      Global Logistics Inc., Total Quality Logistics, Roadrunner
      Transportation Systems, TransCore, Internet Truckstop LLC,
      syncreon, Neovia Logistics, Jacobson Companies and Hub Group
      Inc.; and

            (ii) an individual or business that otherwise competes with
      our business anywhere in the Restricted Territory. [Ex. A at p. 7.]

      29.   Pursuant to the non-solicitation provision of the Employment

Agreement, Young also agreed as follows:

      Covenant Not to Solicit the Company’s Restricted Customers and
      Carriers.

      (a) Agreement Not to Solicit. While employed by us and for the
      two (2) years thereafter, you agree that you will not (nor will you
      assist any other person or entity to), for any reason, either directly or
      indirectly, call on, contact, solicit or otherwise take away or disrupt,
      or attempt to call on, contact, solicit or other otherwise take away or
      disrupt, our relationship with or business expectancy from any of our
      customers or carriers (i) on whose account you worked or with whom
      you had regular contact or (ii) as to whom you had access to
      Confidential Information (in either instance at any time within the last
      one (1) year of your employment with us). This undertaking on your
      part for our benefit is called your “Non-Solicit Covenant.” [Ex. A at
      p. 6.]

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E.       Young’s Resignation of His Employment with XPO and Violation of the
         Employment Agreement

         30.   On July 3, 2017, Young abruptly tendered his resignation of

employment.

         31.   Members of Plaintiffs’ management subsequently learned that Young

resigned his employment in order to begin employment with North American

Logistics Group (“NAL”).

         32.   NAL is a direct competitor of Plaintiffs.

         33.   On July 13, 2017, members of Plaintiffs’ management met with

Young to discuss his resignation of employment. They informed Young that they

received information indicating that Young was going to begin employment with

NAL. They advised Young that his Employment Agreement contained a covenant

not to compete with Plaintiffs’ business.

         34.   In response, Young denied that he was going to work for NAL and

acknowledged his awareness of the non-competition covenant. Instead, Young

explained to Plaintiffs’ management that he was going to assist his aunt with her

tree-trimming and home renovation business.

         35.   Young’s resignation of employment with Plaintiffs was effective July

14, 2017.

         36.   Young’s denial of going to work for a competitor turned out to be

false.
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      37.     Plaintiffs recently learned from a Contract Carrier that Young is, in

fact, working for NAL.

      38.     Upon information and belief, Young begins work with NAL on or

around July 27, 2017—if he has not already done so.

      39.     NAL is a “Competing Business” and is located within the “Restricted

Territory” as those terms are defined in the Employment Agreement.

      40.     Indeed, XPO-LM competes nationally with NAL for the business of

the large multinational retailer discussed above.

F.    Young’s Wanton Disregard of His Job Responsibilities before His Last
      Day with Plaintiffs

      41.     Shortly after Young resigned his employment, Plaintiffs’ upper

management discovered that the conditions at MDC-DTW were in an unacceptably

poor state.

      42.     Specifically, Plaintiffs discovered that large amounts of warehouse

space were unused despite the fact that customer inventory littered areas of the

warehouse not designed for storing inventory.

      43.     This state of neglect was so pervasive that it appears that Young,

while still employed with XPO, ceased tending to and performing his

responsibilities as Operations Manager.

      44.     Plaintiffs’ management also discovered that Young failed to audit the

inventory of Plaintiffs’ customers stored at MDC-DTW for over a full month

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preceding his resignation, despite having responsibility for ensuring weekly

completion of audits.

      45.    Young’s failure to ensure that the employees under his supervision

conducted audits jeopardized Plaintiffs’ ability to account for their customers’

products.

      46.    Plaintiffs’ management also learned that Young failed to train

personnel under his supervision on the newly-implemented internal logistical

systems that Plaintiffs implemented for the purpose of providing services to their

customers.

      47.    The internal logistical systems that Plaintiffs use are crucial to

Plaintiffs’ ability to provide freight forwarding services for their customers.

      48.    Young failed to train his subordinates despite having responsibility to

do so and despite representing that said personnel completed their training.

      49.    Upon information and belief and coupled with the fact that Young

made defamatory statements to Plaintiffs’ customers regarding Plaintiffs’ business

operations, Young intentionally failed to perform his job responsibilities for the

purpose of harming Plaintiffs’ business operations and relationships with their

customers so that their customers would pursue alternative business relationships

with NAL.




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G.    Young’s False Statements to Plaintiffs’ Largest Customer

      50.    Following Young’s resignation of employment, Plaintiffs learned that

Young made false statements regarding Plaintiffs’ business operations to

representatives of Plaintiffs’ largest customer for the MDC-DTW, which is the

above-described large multinational retailer.

      51.    Young admitted to Plaintiffs’ management that he informed this

customer that Plaintiffs’ lacked sufficient warehouse space to store the retailer’s

products and that all of Plaintiffs’ employees were leaving because of poor

working conditions.

      52.    Young made the foregoing false statements in an attempt to disrepute

and damage Plaintiffs’ business relationship with a crucial customer and

wrongfully solicit the business opportunity for the benefit of NAL.

H.    The Irreparable Harm to Plaintiffs

      53.    Young’s actions, as described above, violate the Employment

Agreement.

      54.    Because of Young’s violations of his Employment Agreement, his

breach of fiduciary duty, defamatory statements, and interference with Plaintiffs’

business relationships, Plaintiffs are suffering irreparable harm and injury to their

business and customer goodwill and their goodwill and relationships with the

Contract Carriers.


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                                   COUNT I
                              INJUNCTIVE RELIEF

      55.    Plaintiffs repeat and incorporate the allegations set forth in the

preceding paragraphs as if fully set forth herein.

      56.    By virtue of the allegations set forth herein, Plaintiffs have

demonstrated that they are likely to succeed on the merits of their claims and that a

balancing of the equities favors the issuance of an injunction against Young.

      57.    Unless Young is temporarily, preliminarily, and/or permanently

enjoined from violating his Employment Agreement and engaging in the conduct

described above, Plaintiffs will be irreparably harmed by their loss of competitive

advantage, and market position; damage to office stability; and injury to their

customer and Contract Carrier goodwill and relationships.

      58.    Present economic loss is unascertainable at this time, and future

economic loss is presently incalculable.

      59.    Plaintiffs have no adequate remedy at law.

                           COUNT II
             BREACH OF CONTRACT – NON-COMPETITION

      60.    Plaintiffs repeat and incorporate the allegations set forth in the

preceding paragraphs as if fully set forth herein.

      61.    Young’s Employment Agreement with Plaintiffs is a valid and

enforceable contract.


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      62.    Pursuant to Paragraph 7 of the Employment Agreement, Young

agreed not to work for a competitor of Plaintiffs and/or provide similar services

provided by Plaintiffs within the “Restricted Territory” as defined in the

Employment Agreement.

      63.    Young now works for NAL, a direct competitor of Plaintiffs, within

the Restricted Territory as defined in the Employment Agreement.

      64.    Young’s conduct constitutes a breach of the Employment Agreement.

      65.    As a direct and proximate result of Young’s wrongful conduct,

Plaintiffs have suffered and will continue to suffer irreparable harm, as well as

monetary damages insufficient to fully remedy Plaintiffs.

                               COUNT III
                         DECLARATORY JUDGMENT

      66.     Plaintiffs repeat and incorporate the allegations set forth in the

preceding paragraphs as if fully set forth herein.

      67.    An actual, present and justiciable controversy has arisen between

Plaintiffs and Young concerning the validity of Young’s contractual obligations

and covenants set forth in the Employment Agreement

      68.    Plaintiffs anticipate that Young will breach his non-solicit provision in

his Employment Agreement, in addition to his continued breach of the non-

compete provision.

      69.    Plaintiffs seek judgment from this Court declaring that the

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Employment Agreement, including both the non-compete and non-solicit

provisions, are valid and binding on Young.

                                 COUNT IV
                         BREACH OF FIDUCIARY DUTY

         70.   Plaintiffs repeat and incorporate the allegations set forth in the

preceding paragraphs as if fully set forth herein.

         71.   Young owed a fiduciary duty of loyalty to Plaintiffs during his

employment.

         72.   Young breached his fiduciary duty of loyalty to Plaintiffs by, among

other things, abdicating his managerial and other job responsibilities before his last

day worked with Plaintiffs for the purpose of disrupting and harming Plaintiffs’

business operations and interfering with their business relationships with their

customers and the Contract Carriers.

         73.   While employed at XPO, Young violated his duty of loyalty and did

not act in Plaintiffs’ best interests.

         74.   Young’s breach of this duty proximately caused Plaintiffs to sustain

damages, including, but not limited to, lost profits, revenues, and damage to good

will.

                                   COUNT V
                             BUSINESS DEFAMATION

         75.   Plaintiffs repeat and incorporate the allegations set forth in the


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preceding paragraphs as if fully set forth herein.

       76.    Plaintiffs possess business relationships and expectancies with their

current and prospective customers, as alleged above, with a reasonable likelihood

of future economic benefit to Plaintiffs.

       77.    As alleged above, Young’s false statements prejudiced Plaintiffs’

business by attempting to deter Plaintiffs’ customers from doing business with

Plaintiffs.

       78.    By Young’s conduct alleged above, Young intentionally and

improperly made false and per se defamatory statements regarding Plaintiffs’

business operations to their customer.

       79.    Young’s conduct alleged above was intended to interfere with

Plaintiffs’ business relationships and expectancies and denigrate Plaintiffs’

business reputation.

       80.    As a direct and proximate result of Young’s wrongful conduct,

Plaintiffs have suffered economic injury, loss of goodwill, harm to their reputation,

and loss of business opportunities.

                             COUNT VI
                   TORTIOUS INTERFERENCE WITH
              CONTRACTUAL AND BUSINESS RELATIONSHIPS

       81.    Plaintiffs repeat and incorporate the allegations set forth in the

preceding paragraphs as if fully set forth herein.


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      82.    Plaintiffs have contractual and economic relationships with their

employees, customers, and Contract Carriers, of which Young has knowledge.

      83.    Young wrongfully interfered with Plaintiffs’ existing contractual and

business relationships by abdicating his managerial and other job responsibilities

and making the false statements described above

      84.    Young’s engaged in these acts with full knowledge and/or

recklessness and want of ordinary care in that such acts or omissions would

necessarily interfere with or disrupt the contractual and economic relationships that

Plaintiffs have enjoyed with their customers, Contract Carriers, and vendors.

      85.    Young’s conduct was intentional and willful as he intended to harm

Plaintiffs’ contractual, economic, and financial interests.

      86.    Young’s conduct was wrongful and not justified, privileged, or

excusable.

      87.    As a direct and proximate result of Young’s wrongful conduct,

Plaintiffs have suffered economic injury, loss of goodwill, harm to their reputation,

and loss of business opportunities.

                             REQUEST FOR RELIEF

      WHEREFORE, Plaintiffs respectfully request judgment in their favor

against Young and requests that this Court enter an Order:

      A.     Enjoining Young temporarily, preliminarily, and permanently from,


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directly or indirectly:

                 1) Working for a direct competitor of Plaintiffs, including, but not

                    limited to, NAL, for six months from the date of this Court’s

                    order;

                 2) Soliciting Plaintiffs’ customers and the Contract Carriers or

                    otherwise disrupting Plaintiffs’ business relationships with said

                    parties for two years from the date of this Court’s order;

                 3) Using or disclosing Plaintiffs’ confidential information; and

      B.     Preliminarily and/or permanently prohibiting, restraining, and

enjoining Young from tortiously interfering with Plaintiffs’ customer and vendor

relationships.

      C.     Preliminarily and/or permanently prohibiting, restraining, and

enjoining Young from making any false statements regarding Plaintiffs’ business

to any third-parties, including without limitation, Plaintiffs’ customers, prospective

customers, employees, and the Contract Carriers.

      D.     Declaring that the Employment Agreement, including both the non-

compete and non-solicit provisions, are valid and binding on Young.

      E.     Awarding Plaintiffs their attorneys’ fees and costs.

      F.     Awarding Plaintiffs compensatory damages arising out of Young’s

unlawful conduct.


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         G.       Awarding Plaintiffs punitive/exemplary damages pursuant to statutory

and/or common law.

         H.       Granting Plaintiffs such additional relief as is just and proper.

                                             Respectfully submitted,
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                                             /s/ Katherine J. Van Dyke
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Dated: July 26, 2017                         Attorneys for Plaintiffs




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            EXHIBIT A
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